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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

WILLIAM PATRICK FORD                          §
                                              §
v.                                            §          CIVIL ACTION NO. 2:16-cv-1009
                                              §
ALLIED PROPERTY AND                           §
CASUALTY INSURANCE COMPANY                    §
                                              §

     ORDER GRANTING AGREED STIPULATION OF DISMISSAL WITH PREJUDICE
      .
        Came to be considered the Agreed Stipulation of Dismissal with Prejudice (Dkt. No.

14) urged by Plaintiff William Patrick Ford and Defendant Allied Property and Casualty

Insurance Company. The Court, having considered the Agreed Stipulation, is of the opinion that

the Stipulation should be, and hereby is, GRANTED.

        IT IS THEREFORE ORDERED that all claims made in this lawsuit are hereby dismissed

with prejudice to re-filing, and that this matter is CLOSED.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 20th day of December, 2016.




                                                       ____________________________________
                                                       RODNEY GILSTRAP
                                                       UNITED STATES DISTRICT JUDGE
